978 F.2d 1254
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Peter Emmanuel BERNARD, Plaintiff-Appellant,v.Frank E. MARDAVITCH;  E. B. Walker, Major;  J. Berry,Sergeant;  L. K. Osborne, AWO;  Investigator Evans;  G. W.Stephens, Supervisor;  Richard A. Young, Regional Director;L. Spears, Chairman;  David A. Garraghty, Warden;  C.Fowler, SMU Counselor;  C. Watson, Sergeant, Defendants-Appellees.
    No. 92-6841.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 12, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CA-91-527)
      Peter Emmanuel Bernard, Appellant Pro Se.
      William Rundahl Coleman, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      E.D.Va.
      Affirmed.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Peter Emmanuel Bernard appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bernard v. Mardavitch, No. CA-91-527 (E.D. Va.  July 31, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    